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yino7) at JO Wap

T31RC]

“LNG SU] JO TAPTO JayLINY) INOUE TATTIR]S TRUTAIO ou] Sf PAINAQNS 9g T]TM SomysTEN] gp “Wtlos ap Aq paagsaar Apouy St woloahqe ou J]
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3, HIS] ST] CW Ppp CI REL, ATES 10] UGA) SOTTO ENE] JO ASU], JO AOPO_] SEY Sty) PASIABE BT aE PAINE FAT JO) METAS TTA YI

“~WHASNVALL OL LOU1O OL ANTIMAV I~

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{UAT y §, aa] SUeT,L ao] suet

TO CE “eq STE) Tape fay 7g]

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Ful Tp yaoy Jo sustqy me sty
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(BAOGE WOT JUSTO, Lp JN) Tiers an py oiys
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Zio 7 ae

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q Togs sonfynety pore moose akg #,ancssy mt payrodsp 94 (porte AUT] TOTS O) OTUBNGHYTE HAND JO IUTOKAT Boy SINT TOTMAIASTY aq pion
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Oy Pie MROTSY POOR oe taTELS amy o2 posdeod atm Ained pr ADM Ja wnag an LoIqary Tio prApavar saanOM [Te Bacdiisy on preAzos 0) soa TOUR
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TACT) BUD JO Wada poss iM TIAA Oy AfereAep JO AranGAsaT ay Aim ge osTades Tn yy ge ARTTIIE SETUMT 1pStls oie oy SeauTe LORE “BEMIPHAOOIT
Sep GY ainiate ag AINA SOT AT] PIPED Io saord oy TOTS AT NM TO] [RAGS OO BATT] [PRIS AT Shy dG poe BAAS 1p etaaod 1aH8
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fod Opa ON AVEP dl Ode “SL BAY
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. Ty aS Fe en) EATEN Pe PIRI TOT) May Pear Soe ey Te EMER 1} HES ATTA MT GA
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